      Debtors may request to receive Court notices and orders by email instead of U.S. mail. Sign Up at www.canb.uscourts.gov

Information to identify the case:
Debtor
                Bio365 LLC                                                                 EIN:   81−2353850
                Name

 United States Bankruptcy Court      California Northern Bankruptcy Court                  Date case filed for chapter:        11      4/12/23

            23−10180
 Case number:

Official Form 309F2 (For Corporations or Partnerships under Subchapter V)
Notice of Chapter 11 Bankruptcy Case                                                                                                                   10/20

For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess property, or
otherwise try to collect from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or otherwise. Creditors who violate the stay
can be required to pay actual and punitive damages and attorney's fees.
Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from discharge may be
required to file a complaint in the bankruptcy clerk's office within the deadline specified in this notice. (See line 12 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.

  1. Debtor's full name                      Bio365 LLC


  2. All other names used in the aka Green Tree Garden Supply LLC
     last 8 years

                                             122 Calistoga Road
  3. Address                                 Suite 613
                                             Santa Rosa, CA 95404

  4. Debtor's attorney                       Kevin Harvey Morse
       Name and address                      Clark Hill PLC                                              Contact phone 312−985−5556
                                             130 E. Randolph St.
                                             Chicago, IL 60601

  5. Bankruptcy trustee                                                                                  Contact phone _____________
      Name and address
                                                                                                         Email: _________________


  6. Bankruptcy clerk's office                                                                            Hours open:
                                                Mailing Address:                                          Monday − Friday 9:00 am to 4:30 pm
       Documents in this case may be filed
      at this address. You may inspect all U.S. Bankruptcy Court
      records filed in this case at this office 99 South "E" Street                                       Contact phone (888) 821−7606
      or online at                              Santa Rosa, CA 95404
      "https://pacer.uscourts.gov.                                                                        Date: 4/12/23

                                                                                                              For more information, see page 2




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Debtor Bio365 LLC                                                                                                                Case number 23−10180


  7. Meeting of creditors                                                                                  Via Tele/Videoconference
       The debtor's representative must
                                             May 5, 2023 at 11:00 AM
      attend the meeting to be questioned                                                                  Call in number/URL: 1−877−991−8832
      under oath.                         The meeting may be continued or adjourned to a later             Passcode: 4101242
      Creditors may attend, but are not   date. If so, the date will be on the court docket.
      required to do so.
      Important Notice to Individual Debtors: The United States Trustee requires all debtors who are individuals to provide
      government−issued photo identification and proof of social security number to the trustee at the meeting of creditors. Failure to Appear May
      Result in the Dismissal of the Case without further notice. A request for a continuance or to be excused from appearing must be made in
      writing at least 7 days before the meeting, timely filed with the court at the address above in box 6 and served by mail on the trustee at the
      address above in box 5.


  8. Proof of claim deadline                  Deadline for filing proof of claim:
                                              For all creditors (except a governmental                       6/21/23
      For a bankruptcy case                   unit):
      pending in the Northern                 A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained
      District of California, a Proof         at www.uscourts.gov or any bankruptcy clerk's office.
      of Claim may be filed                   Your claim will be allowed in the amount scheduled unless:
      electronically online at
      www.canb.uscourts.gov In
      the Quick Links section,                • your claim is designated as disputed, contingent, or unliquidated;
      click on "File an Electronic            • you file a proof of claim in a different amount; or
      Proof of Claim."                        • you receive another notice.

                                              If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you
                                              must file a proof of claim or you might not be paid on your claim and you might be unable to vote on a
                                              plan. You may file a proof of claim even if your claim is scheduled.

                                              You may review the schedules at the bankruptcy clerk's office or online at pacer.uscourts.gov.

                                              Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a
                                              proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer
                                              can explain. For example, a secured creditor who files a proof of claim may surrender important
                                              nonmonetary rights, including the right to a jury trial.


  9. Exception to discharge                   If § 523(c) applies to your claim and you seek to have it
     deadline                                 excepted from discharge, you must start a judicial
       The bankruptcy clerk's office must     proceeding by filing a complaint by the deadline stated
      receive a complaint and any             below.
      required filing fee by the following    Deadline for filing the complaint:
      deadline.


                                              If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court to
  10. Creditors
      address
                with a foreign                extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                              have any questions about your rights in this case.


                                             Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                             court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
  11. Filing a Chapter 11
      bankruptcy case
                                             and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                             hearing, and you may object to confirmation of the plan and attend the confirmation hearing. The debtor will
                                             generally remain in possession of the property and may continue to operate the debtor's business.


                                             Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your
                                             debt. See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the
  12. Discharge of debts                     debtor except as provided in the plan. If you want to have a particular debt owed to you excepted from the
                                             discharge and § 523(c) applies to your claim, you must start a judicial proceeding by filing a complaint and
                                             paying thefiling fee in the bankruptcy clerk's office by the deadline.




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